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                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT CINCINNATI
In re:


 KENNETH E. MOORE
                                                  Case No. 16-11440
               Debtor                             Chapter 7
                                                  Judge Hopkins
 ________________________________________

 KENNETH E. MOORE                                 Adversary Case No. 17-1035

               Plaintiff(s)

          v.

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.

               Defendant(s)



                         JOINT STIPULATION OF DISMISSAL

        Debtor Kenneth E. Moore and Defendant United States Department of Education hereby
stipulate to the dismissal of Plaintiff’s Adversary Complaint (Doc. No. 1) ​with prejudice
pursuant to Fed. Bankr. R. 7041 and Civ. R. 41(a)(1)(A)(ii).

                                         Respectfully Submitted,

                                         /s/ Brian D. Flick, Esq.
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                                             United States Attorney

                                             /s//Nicholas J. Pantel
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                                             of Education

                                CERTIFICATE OF SERVICE

        I hereby certify a copy of the foregoing ​Joint Stipulation of Dismissal ​was served (i)
electronically ​on the date of filing through the Court's ECF system on all ECF participants
registered in this case and (ii) by ​ordinary US Mail ​on September 17, 2018 and addressed to:

Kenneth E. Moore
6111 Hamilton Middletown Road
Monroe, OH, 45044

                                             /s/ Brian D. Flick, Esq.
                                             Brian D. Flick, Esq. #0081605
